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                        EXHIBIT A
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                                      Marc A. Lindsey
                                      Phone: (202) 491-3230
                                Email: mlindsey@avenue4llc.com
                            LinkedIn: www.linkedin.com/in/marclindsey


Experience
      Avenue4 LLC, Washington, D.C., September 2014 – Present
     President and Co-Founder: Chief executive and lead advisor specializing in business
     consulting services brokering asset sale transactions between large corporate sellers and
     buyers of Internet assets.
         ●   Active participant and influencer in the IPv4 market since well before its public
             emergence in March of 2011 with the announcement of the Nortel and Microsoft
             transaction
         ●   Served as principal advisor and IPv4 broker to many of the largest IPv4 block holders
             over the past 10+ years – providing his clients with strategic and tactical advice that
             allows them to assess their IPv4 assets, quantify the risks and rewards of IPv4 market
             participation, and pursue monetizing strategies effectively
         ●   Brokered deals for a total value of over $400 million
         ●   Co-founded Avenue4, a startup venture instrumental in establishing the IPv4 market
     Levine, Blaszak, Block & Boothby, LLP, Washington, D.C., August 1998 – Present
     Partner: Structuring and negotiating a broad range of complex technology transactions for
     Fortune 500s and other large organizations, including outsourcing, cloud computing, enterprise
     software licensing, custom system development, network services, and enterprise digital
     transformation.
         ●   Lead counsel advising a large state in its negotiations of an ERP system acquisition and
             implementation covering state-wide human resource management, financial
             management and procurement management functions
         ●   Lead counsel structuring a global compute as a service and outsourcing transaction for a
             large multi-national bank.
         ●   Lead counsel negotiating a enterprise license and services agreement for a Fortune 50
             company, where the transaction integrated on-premises software, software-as-a-service,
             managed services, hardware acquisition and professional services.
         ●   Lead counsel for a Fortune 50 company on a multi-year transformational outsourcing of
             its global information and communications network infrastructure and network services,
             where the scope of the legal services included the RFP initiative, strategic planning,
             contract drafting and negotiations with global system integrators and other service
             providers spanning North America, EMEA, Asia and Latin America.
      TechCaliber Consulting, LLC, Washington, D.C., January 2017 – Present
     LLC Manager: One of three LLC managers responsible for corporate governance, strategic
     direction and executive leadership of the firm. TechCaliber Consulting provides strategic
     sourcing services related to telecommunications and information technology products and
     services.
     Hunton & Williams, Charlotte, NC, August 1996 – August 1998, Litigation Associate
     GE Aerospace, Valley Forge, PA, 1989-93, Systems Engineer
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                                                                                             M. Lindsey
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Education
       University of North Carolina at Chapel Hill, J.D., with honors, 1996
       University of Pennsylvania, M.S.E. in Systems Engineering, 1992
       Howard University, B.S. in Electrical Engineering, 1989
Bar Admissions and Professional Affiliations
       ●    Admitted in New York, the District of Columbia, and North Carolina bars
       ●    Member, ABA Intellectual Property, and the Science and Technology Law Sections
       ●    Member, IEEE (Computer Society)
Illustrative Articles and Speaking Engagements
Writes, speaks and is quoted on topics that are at the intersection of technology and the law:
       ●    Co-Author – 7 Reasons IT Service Deals Fail – and How to Resolve Disputes, CIO (May 9.
            2019)
       ●    Co-Author – How to Negotiate a Cisco Enterprise Agreement that Works for You, Network
            World (February 8, 2018)
       ●    Co-Author – An Insider’s Guide to the Private IPv4 Market – Updated, CircleID (July. 10, 2018)
       ●    Featured – Trading in IP Addresses Becomes a Lucrative Market, ABA Journal (November 1,
            2015)
       ●    Co-Author – An Insider’s Guide to the Private IPv4 Market, Network World (May 27, 2015)
       ●    Co-Author – Negotiating Private Cloud Transactions, No Jitter (April 7, 2014)
       ●    Speaker – Infrastructure in the Cloud: Getting the Right Deal, Computerworld SNW
            Conference (October 10-13, 2011)
       ●    Speaker – Managed Security Services: Enterprise Buyer Best Practices, National Credit
            Union Administration Annual IT Conference (July 22, 2011)
       ●    Co-Author – Perspectives on Cloud Computing for the Enterprise, No Jitter (February 15,
            2011)
Community Involvement
       ●    Board of Trustees, Georgetown Day School, which is a coed, PreK to 12 th grade, private day
            school in Washington, DC
       ●    Chair of the Board and President, Beacon Properties, Inc., which is a non-profit organization
            that funds and develops real estate projects to provide affordable housing and improve the
            lives of the marginalized in Washington, D.C
